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 8
 9                         UNITED STATES DISTRICT COURT

10                      NORTHERN DISTRICT OF CALIFORNIA

11
     DEMETRIC DI-AZ, OWEN DIAZ and         )       Case No. 17-cv-06748-WHO
12   LAMAR PATTERSON,                      )
                                           )       AMENDED COMPLAINT FOR DAMAGES
13                                         )
              Plaintiffs,                  )
14                                         )       1. Racial Discrimination, Harassment,
             v.                            )           Retaliation, Failure to Prevent, Constructive
15                                         )           and Wrongful Termination in Violation of 42
                                           )           U.S.C. § 1981;
     TESLA, INC. DBA TESLA MOTORS, INC.; )
16                                                 2. Racial Discrimination in Violation of the
     CITISTAFF SOLUTIONS, INC.; WEST       )
     VALLEY STAFFING GROUP;                )           Unruh Civil Rights Act;
17                                                 3. Retaliation - Unruh Civil Rights Act;
     CHARTWELL STAFFING SERVICES, INC.; )
18                                         )       4. Threats of Violence in Violation of the Ralph
     NEXTSOURCE, INC.; and DOES 1-10,      )           Civil Rights Act;
19   inclusive,                            )       5. Threats of Violence - Bane Act;
                                           )       6. Interference with Constitutional Rights in
              Defendants.                  )
20                                                     Violation of the Bane Act;
                                           )
                                           )       7. Whistleblower Retaliation;
21
                                           )       8. Racial Harassment under FEHA;
22                                         )       9. Racial Discrimination under FEHA;
                                           )       10. Retaliation under FEHA;
23                                         )       11. Failure to Prevent under FEHA;
                                           )
                                           )       12. Negligent Infliction of Emotional Distress;
24                                                 13. Intentional Infliction of Emotional Distress;
                                           )
25                                         )       14. Negligent Hiring Retention and Supervision;
                                           )       15. Wrongful Termination; and
26                                         )       16. Constructive Discharge.
                                           )
27                                         )       JURY TRIAL DEMANDED
                                           )
     _____________________________________ )
28




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 1                                             INTRODUCTION
 2           1.      Even amongst the giants of California’s Silicon Valley, Tesla, Inc. stands out as
 3   an innovative and groundbreaking company that is at the forefront of the electric vehicle
 4   revolution. As a result, Owen Diaz, his son Demetric Di-az, and Lamar Patterson were thrilled
 5   when they landed work at Tesla’s production factory, located in Fremont, California.
 6           2.      Instead of a modern workplace, however, Plaintiffs encountered a scene straight
 7   from the Jim Crow era. Although the men worked in different areas of the factory, all three were
 8   targets of racially motivated abuse, including the frequent use of racial slurs. Plaintiffs
 9   complained to their supervisors, but Tesla, Inc., took no action. Plaintiffs quickly learned that
10   Tesla’s progressive image was a façade papering over its regressive, demeaning treatment of
11   African-American employees.
12                                                  PARTIES
13           3.      Defendant Tesla, Inc., d.b.a. Tesla Motors, Inc., (hereinafter “Tesla”) is a
14   publicly-traded Delaware corporation whose principal place of business is located in Palo Alto,
15   California. Tesla designs, manufactures, and sells electric vehicles. One of Tesla’s vehicle
16   manufacturing facilities, also known as the “Tesla Factory,” is located at 45500 Fremont
17   Boulevard in Fremont, California. The harassing conduct at issue in this case took place at the
18   Tesla Factory in Fremont. Due to Tesla’s ownership of the facility, its day-to-day managerial
19   role in the facility, its right to hire, fire and discipline the employees, and its control of all terms
20   and conditions of Plaintiff’s employment, Tesla is Plaintiffs’ joint employer, which provides
21   employment pursuant to contract.
22           4.      Defendant Citistaff Solutions, Inc. (hereinafter “Citistaff”) is a California
23   corporation whose principal place of business is located in Orange, California. Citistaff is a
24   staffing company that provides trained employees to businesses for short-and long-term
25   assignments, and therefore provides employment pursuant to contract. When Citistaff’s
26   employees are sent to work at their client’s sites, they receive paychecks from Citistaff. Citistaff
27   retains control over hiring and firing decisions and also selects the locations where its employees
28   work. Plaintiffs are informed and believe and on that basis allege that in addition to being joint


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 1   employers, Defendants Tesla and Citistaff are alter egos and/or integrated enterprises such that
 2   the actions of one entity can be and are attributable to the other entity.
 3          5.      Defendant West Valley Staffing Company (hereinafter “West Valley”) is a
 4   staffing corporation with corporate offices in Sunnyvale, California. West Valley provides
 5   trained employees for short and long-term assignments to other businesses, and therefore
 6   provides employment pursuant to contract. When West Valley employees are sent to work at
 7   other business’ sites, they receive paychecks from West Valley, West Valley retains control over
 8   hiring and firing decisions, and also selects the locations at which its employees work. Plaintiffs
 9   are informed and believe and on that basis allege that in addition to being joint employers,
10   Defendants Tesla and West Valley are alter egos and/or integrated enterprises such that the
11   actions of one entity can be and are attributable to the other entity.
12          6.      Defendant Chartwell Staffing Services Inc. (hereinafter “Chartwell”), doing
13   business as Chartwell Staffing Solutions, is a staffing corporation with corporate offices in San
14   Jose, California. Chartwell provides employees for short and long-term assignments to
15   businesses in the United States, and therefore provides employment pursuant to contract.
16   Plaintiff Lamar Patterson applied for a Tesla position through Chartwell. He received all relevant
17   training and orientation directly through Tesla, clocked in and out using Tesla’s timekeeping
18   system, and Tesla maintained power over hiring and firing decisions. Plaintiff Lamar Patterson
19   selected to work for Tesla, rather than being assigned a location by Chartwell. Plaintiffs are
20   informed and believe and on that basis allege that in addition to being joint employers,
21   Defendants Tesla and Chartwell are alter egos and/or integrated enterprises such that the actions
22   of one entity can be and are attributable to the other entity.
23          7.      Defendant nextSource, Inc. (hereinafter “nextSource”) is a Delaware corporation
24   with its principal place of business located in New York City, New York. nextSource provides
25   contract employees from staffing corporations, such as Defendant Citistaff, to contracting
26   companies, such as Defendant Tesla. nextSource accordingly provides employees pursuant to
27   contract. In addition, nextSource provides human resources functions to the contracting
28   businesses and staffing agencies, has power to make hiring and firing decisions, and to select the


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 1   employees who work at a particular contracting company. Plaintiffs are informed and believe,
 2   and on that basis allege, that in addition to being joint employers, Defendants nextSource,
 3   Citistaff, and Tesla are alter egos and/or integrated enterprises such that the actions of one entity
 4   can be and are attributable to the other entity.
 5          8.        Plaintiff Demetric Di-az (hereinafter “Demetric”) was employed as a Production
 6   Associate jointly by defendants West Valley and Tesla from approximately August of 2015
 7   through October of 2015. Demetric was placed by West Valley at the Tesla Factory in Fremont,
 8   California. Demetric is, and at all relevant times herein was, an adult African-American resident
 9   of California.
10          9.        Plaintiff Owen Diaz (hereinafter “Owen”) was employed as an Elevator Operator
11   jointly by defendants Citistaff, nextSource, and Tesla between approximately June 2015 and
12   May of 2016. Owen was placed by Citistaff and nextSource at the Tesla Factory in Fremont,
13   California. Owen is, and at all relevant times herein was, an adult African-American resident of
14   California.
15          10.       Plaintiff Lamar Patterson (hereinafter “Lamar”) was employed as an Elevator
16   Operator jointly by defendants Chartwell and Tesla between approximately January 2016 and
17   August 2016. Lamar is, and at all relevant times herein was, an adult African-American resident
18   of California.
19          11.       Each Defendant is sued individually and as the agent or employee of every other
20   Defendant acting within the course and scope of said agency or employment, with the knowledge
21   or consent of the other co-Defendants.
22                                     JURISDICTION AND VENUE
23          12.       This action is based on Plaintiffs’ claims of employment discrimination against
24   Defendants, which arise under the Civil Rights Act of 1866 (42 U.S.C. § 1981). This court has
25   jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C. § 1331.
26          13.       This court also has supplemental jurisdiction over Plaintiffs’ related state law
27   claims under 28 U.S.C. § 1367. Plaintiffs’ state law claims arise from the same common nucleus
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 1   of operative facts as the underlying federal claims. Resolving all state and federal claims in a
 2   single action serves the interests of judicial economy, convenience, and fairness to all parties.
 3          14.     This Court has personal jurisdiction over defendant Tesla, which is a corporation
 4   incorporated in the state of Delaware with its corporate offices and principal place of business
 5   located in Fremont, California.
 6          15.     This Court has personal jurisdiction over defendant Citistaff, which is a
 7   corporation incorporated in the State of California with its corporate offices and principal place
 8   of business located in Newark, California.
 9          16.     This Court has personal jurisdiction over defendant West Valley, which is a
10   corporation incorporated in the State of California with its corporate offices and principal place
11   of business located in Sunnyvale, California.
12          17.     This Court has personal jurisdiction over defendant nextSource, which is a
13   corporation incorporated in the state of Delaware with its corporate offices and principal place of
14   business located in New York City, New York. The acts and omissions of defendant nextSource
15   complained of herein occurred in Defendant Tesla's Fremont, California factory.
16          18.     Venue is proper in this court pursuant to 28 U.S.C. 1391(b)(2), because the acts
17   and omissions of Defendants complained of herein occurred in Fremont, California.
18                                     FACTUAL ALLEGATIONS
19                                          DEMETRIC DI-AZ
20          19.     In approximately August of 2015, Demetric’s father, Owen, informed him that
21   West Valley had openings for positions at the Tesla Factory in Fremont, California.
22          20.     Demetric was excited at the prospect of working at the Tesla Factory so he
23   applied for a position with West Valley. His application was accepted, and he signed a contract
24   and began his training on August 24, 2015.
25          21.     In approximately August 2015, Demetric began working at the Tesla Factory as a
26   Production Associate. Demetric participated in the development and application of Tesla’s
27   manufacturing system for the battery of its electric sedan, the Model S.
28


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 1          22.     Demetric took pride in his work, and was excited to work on the creation of
 2   Tesla’s innovative vehicles.
 3          23.     However, Demetric found it increasingly difficult to enjoy his job because of the
 4   daily racist epithets that he had to endure throughout his shift. Demetric was called “nigger” on
 5   a regular basis, and observed other African-American employees enduring the same treatment.
 6   Additionally, Demetric’s father, Owen, told him about racist epithets directed at him and showed
 7   Demetric offensive drawings he came across at the Tesla Factory.
 8          24.     This treatment continued throughout Demetric’s employment for West Valley and
 9   Tesla. For example, when Owen came to Demetric’s department to bring him lunch, Demetric’s
10   shift lead said, “All you fucking niggers - I can’t stand you motherfuckers.”
11          25.     Demetric found this treatment demeaning and unbearably offensive.
12          26.     Demetric complained to West Valley about the racist abuse he endured at work on
13   a daily basis. West Valley took no action.
14          27.     Upset and offended, Demetric complained to his supervisor at Tesla in October of
15   2015. He stated, “The way you’re treating me - calling me an ‘n-word’ every day - that’s not
16   right.” His supervisor replied, “If you don’t like how you’re treated, your time here is going to
17   end.” “So,” Demetric asked, “you’re going to fire me?” His supervisor replied, “You’re a temp,
18   anyway.”
19          28.     After Demetric complained, the racist abuse dramatically increased in frequency.
20          29.     Within days of making his complaint, Demetric was issued a written warning
21   based on accusations of misconduct. He was accused of using his phone on the production line.
22   Prior to this written warning, Demetric had a good performance record.
23          30.     Within just one week of his complaint to his supervisor at the Tesla Factory, he
24   was terminated for “breaking the rules.” Other employees with similar warning were not
25   terminated.
26          31.     Demetric believed the written warning and subsequent termination were
27   pretextual. Demetric believed that his employment was terminated because he objected to the
28   racist harassment and discrimination.


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 1          32.      As a direct and proximate result of the acts and omissions of the Defendants,
 2   Demetric has suffered, and continues to suffer emotional distress and psychological damage.
 3   This includes, but is not limited to: humiliation, mental anguish, stress, fear, depression, and
 4   anxiety.
 5          33.      Defendants’ actions have also resulted in wage and benefit losses, and are
 6   expected to lead to additional economic loss in the future.
 7          34.      As a result of the Defendants’ actions, Demetric hired private counsel to
 8   prosecute this action. Pursuant to California Civil Codes Sections 52.1, 51.7, and 52(b)(3), and
 9   Title 42 USC section 1988, Demetric is entitled to recover attorney’s fees associated with the
10   prosecution of these claims.
11          35.      Defendants’ acts were malicious or oppressive, and intended to vex, injure,
12   annoy, humiliate, and embarrass Demetric, and with conscious disregard of the rights and safety
13   of Demetric and other African-American employees of West Valley. Demetric is informed and
14   believes, and based thereon alleges, that West Valley and Tesla’s managing agents ratified the
15   wrongful conduct of Tesla’s employees, because they were aware of the discriminatory conduct,
16   and failed to take immediate remedial action after Demetric’s report of the oppressive conduct.
17                                              OWEN DIAZ
18          36.      Owen was elated when he discovered, in the summer of 2015, that he would be
19   working at Tesla as an Elevator Operator through Citistaff and nextSource.
20          37.      In his early days at the Tesla Factory, Owen was excited to go to work every
21   morning. He was a good and hardworking employee, and his performance caught his
22   supervisors’ attention. Within the first month of the start of his employment at the factory, an
23   Asian-American supervisor promoted him to an elevator lead position.
24          38.      The supervisor warned him, however, that Tesla wouldn’t want “someone like
25   him” to be a lead. Owen believed his supervisor was stating that Tesla would not want an
26   African-American man as a lead.
27          39.      Owen’s opinion of Tesla quickly soured, as his supervisor’s prediction proved
28   true. After beginning his employment at the Tesla Factory, Owen became the subject of vitriolic


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 1   racial harassment. Tesla Factory employees directed racial epithets, such as “nigger,” at him and
 2   other African-American Tesla employees on a daily basis.
 3           40.      Other employees in the factory also instructed Owen, “Go back to Africa,”
 4   implying that, as an African-American man, Owen did not belong in the United States.
 5           41.      When Owen was operating the elevator with Conveyance Supervisor Robert (last
 6   name unknown), Robert instructed Owen to press the elevator by saying, “Nigger, hurry up,
 7   press the button.”
 8           42.      Robert regularly referred to Owen as “nigger,” and also frequently called him
 9   “boy” in a demeaning tone.
10           43.      To Owen, these degrading modes of address were reminiscent of the way slave
11   owners referred to their slaves. He found this racist behavior to be unbearable.
12           44.      Owen also witnessed racial slurs being used towards other African-American
13   employees. His son, Demetric, worked in another department of the Tesla Factory. When Owen
14   brought Demetric lunch one day, he overheard Demetric’s supervisor referring to the African-
15   American workers at the factory as “fucking niggers.”
16           45.      Owen felt demeaned and offended when Tesla’s employees referred to him as a
17   “nigger.” The constant use of this offensive language made him depressed. However, what truly
18   broke Owen down was witnessing these racist epithets directed at his son, and hearing his son
19   tell him about the racism he was experiencing at work.
20           46.      Owen complained verbally to Citistaff, but Citistaff took no action. Owen also
21   complained to employees of Tesla and nextSource. However, no action was taken by any of the
22   entities.
23           47.      Tesla’s employees also drew racist and derogatory caricatures of African children
24   that resembled the “pickaninny” imagery of the early twentieth century. These drawings
25   typically featured images of dark-skinned individuals with big lips and bones in their hair.
26   Features which are erroneously, and stereotypically, associated with African-American
27   individuals. An example of such racially offensive conduct is attached as Exhibit A.
28


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 1          48.     To ensure there was no doubt about the racist intent behind this appalling
 2   imagery, the drawings were typically accompanied with captions such as, “Booo!” - suggesting
 3   that African-American individuals are undesirable and unpleasant.
 4          49.     These drawings were regularly placed around the factory, in locations where
 5   African-American employees, including Owen, were certain to view them.
 6          50.     Constantly viewing this racially offensive and demeaning imagery, coupled with
 7   the offensive message, caused Owen to feel demeaned, disrespected, and devalued.
 8          51.     Owen discovered that the elevator supervisor, Ramon, was the source of the
 9   drawings. Owen confronted Ramon and explained that he found the drawings offensive and
10   demeaning. Owen requested that Ramon stop his behavior.
11          52.     Ramon responded flippantly, “We’re just playing, why do you people take things
12   so hard?” By “you people,” Ramon meant African-American employees.
13          53.     Ramon refused to stop the offensive behavior.
14          54.     Owen was distressed that Ramon would make the assumption that his rightful
15   anger over this racist act was merely oversensitivity.
16          55.     Tesla supervisor Michael Wheeler was aware of the harassment and offensive
17   drawings made by Ramon around the factory, and so was Owen’s supervisor Ed Romero
18   (hereinafter “Romero”). Because Owen was hired by Citistaff and nextSource, and not Tesla, he
19   was informed he could not complain to Tesla’s Human Resources department. In frustration, he
20   sent a written complaint to Romero, his supervisor at Tesla.
21          56.     Romero stated that he would look in to the issue, but took no action. The
22   harassing Tesla employees remained employed, and Owen was forced to continue to endure their
23   harassment.
24          57.     Owen also complained to Citistaff, but Citistaff likewise took no action.
25   nextSource similarly failed to take sufficient action to timely address Owen’s complaints.
26          58.     On approximately October 17, 2015, Owen was training another Citistaff
27   employee, Rothai. He was in the middle of explaining to Rothai that Romero would be his
28   supervisor when the elevator doors opened to reveal Ramon.


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 1          59.     Ramon flew into a rage upon overhearing their conversation, and shouted, “Do
 2   you have a problem with me?! Why are you telling him who his supervisor is?!” Owen and
 3   Rothai had not been speaking about Ramon at all.
 4          60.     Fearful, Owen did not respond. Ramon followed him into the elevator, and came
 5   within inches of Owen’s body, preventing him from escaping. Ramon continued to shout and
 6   gesture aggressively.
 7          61.     Based on Ramon’s threatening words and conduct, and previous racist and
 8   generally hostile conduct, Owen feared that Ramon would hit him or otherwise harm him.
 9          62.     Ramon was an able-bodied male who worked as a laborer, so Owen reasonably
10   believed that Ramon had the ability to physically harm him.
11          63.     Owen asked Ramon to step back, and reminded Ramon that a security camera was
12   recording the exchange. Eventually, Ramon exited the elevator.
13          64.     Following this exchange, Owen contacted Romero via email. He wrote,
14   “…because of the way Ramon was acting I don’t feel safe around him now. Can you please talk
15   to him[?] I don’t need any problems. I just want to do my job.”
16          65.     Romero responded by writing, “Owen, I will speak to Ramon and follow up by
17   speaking to you.” Romero never again contacted Owen regarding the incident. Ramon continued
18   to work with Owen, and Owen was not aware of any disciplinary measures taken against Ramon.
19          66.     Owen contacted Citistaff regarding this incident, Citistaff still took no action.
20          67.     The harassment and discrimination Owen experienced escalated after he made
21   this complaint. Tesla’s employees used racial slurs with greater frequency.
22          68.     Although Tesla, nextSource, and Citistaff had notice of the discriminatory and
23   harassing behavior at the Tesla Factory, Tesla, nextSource, and Citistaff took no steps to protect
24   African-American employees.
25          69.     In fact, Tesla, nextSource, and Citistaff ratified and supported the racially
26   harassing behavior. In the spring of 2016, Citistaff informed Owen that he would be demoted
27   from his supervisory position, because he was causing too much trouble, despite the fact that he
28   had no negative performance reviews or disciplinary issues.


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 1          70.      Owen believed this explanation was merely a pretext. Owen believed Citistaff,
 2   nextSource, and Tesla were threatening him with a demotion in retaliation for his complaints
 3   regarding the racist, discriminatory behavior he experienced.
 4          71.      Eventually, in approximately May of 2016, Owen quit his employment. Owen
 5   could no longer bear the abusive, racially harassing treatment he encountered daily at work.
 6   Since Citistaff, nextSource, and Tesla had repeatedly refused to investigate the racist behavior
 7   and instead ratified the attempts at retaliation by threatening Owen with a demotion, he worried
 8   that the situation would only degenerate further.
 9          72.      As a direct and proximate result of the acts and omissions of the Defendants,
10   Owen has suffered, and continues to suffer emotional distress and psychological damage. This
11   includes, but is not limited to: humiliation, mental anguish, stress, fear, depression, and anxiety.
12          73.      Defendants’ actions have also resulted in past wage and benefit loss, and are
13   expected to lead to additional economic loss in the future.
14          74.      As a result of the Defendants’ actions, Owen hired private counsel to prosecute
15   this action. Pursuant to California Civil Codes Sections 52.1, 51.7, and 52(b)(3), and Title 42
16   USC Section 1988, Owen is entitled to recover attorney’s fees associated with the prosecution of
17   these claims.
18          75.      Defendants’ acts were malicious or oppressive, and intended to vex, injure,
19   annoy, humiliate, and embarrass Owen, and with conscious disregard of the rights and safety of
20   Owen and other African-American employees of Defendants. Owen is informed and believes,
21   and based thereon alleges, that managing agents ratified the wrongful conduct of the Defendants’
22   employees, because they were aware of this conduct and failed to take immediate remedial
23   action, and retained the errant employees after Owen’s report of the oppressive conduct.
24                                        LAMAR PATTERSON
25          76.      Lamar was excited to join Tesla as an Elevator Operator when he was hired in
26   approximately January 2016. He worked hard and hoped to embark on a long-term career path at
27   the company that he so much admired.
28


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 1          77.     It did not take long for Lamar to learn that the company was a hotbed for racist
 2   behavior. Both employees and supervisors used the word “nigger” freely and frequently
 3   throughout the Tesla Factory, left racist caricatures, images, and effigies around the factory for
 4   African-American employees to see, and made “jokes” such as, “Go back to Africa. We don’t
 5   want you here!”
 6          78.     Lamar complained to Supervisor Ed Romero about the use of the word “nigger”
 7   and the hurtful “jokes.” However, neither Romero nor anyone else at Tesla took action to address
 8   the issue; he continued to hear the racist epithets on a regular basis, throughout his workday.
 9          79.     Unable to bear the abusive and racially harassing treatment he encountered daily
10   at work any longer, Lamar quit his employment with Defendants Tesla and Chartwell in
11   approximately August of 2016.
12          80.     As a direct and proximate result of the acts and omissions of the Defendants,
13   Lamar has suffered, and continues to suffer emotional distress and psychological damage. This
14   includes, but is not limited to: depression and anxiety.
15          81.     Defendants’ actions have also resulted in past wage and benefit loss, and are
16   expected to lead to additional economic loss in the future.
17          82.     As a result of the Defendants’ actions, Lamar hired private counsel to prosecute
18   this action. Pursuant to California Government Code section 12965(b), California Civil Codes
19   Sections 52.1, 51.7, and 52(b)(3), and Title 42 USC Section 1988, Owen is entitled to recover
20   attorney’s fees associated with the prosecution of these claims.
21          83.     Defendants’ acts were malicious or oppressive, and intended to vex, injure,
22   annoy, humiliate, and embarrass Lamar, and with conscious disregard of the rights and safety of
23   Lamar and other African-American employees of Defendants. Lamar is informed and believes,
24   and based thereon alleges, that managing agents ratified the wrongful conduct of the Defendants’
25   employees, because they were aware of this conduct and failed to take immediate remedial
26   action, and retained the errant employees after Lamar’s report of the oppressive conduct.
27          84.     On or about July 31, 2017, Lamar filed a timely charge against Defendants Tesla
28   and Chartwell with the Department of Fair Employment and Housing alleging discrimination,


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 1   harassment and retaliation on the basis of race and color; failure to prevent harassment,
 2   discrimination and retaliation; and constructive termination. The DFEH issued a right-to-sue
 3   letter regarding this charge on July 31, 2017.
 4                              FIRST CAUSE OF ACTION
             RACIAL DISCRIMINATION, RACIAL HARASSMENT (HOSTILE WORK
 5
          ENVIRONMENT), RETALIATION, FAILURE TO INVESTIGATE AND PREVENT
 6           DISCRIMINATION AND HARASSMENT, WRONGFUL TERMINATION,
                               CONSTRUCTIVE DISCHARGE
 7                                     42 U.S.C. § 1981
                         (As to All Plaintiffs; Against All Defendants)
 8
            85.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
 9
     reproduced herein.
10
            86.     As African-American men, Plaintiffs are members of a protected class. At all
11
     relevant times herein, Demetric was in a contractual relationship with defendant West Valley
12
     within the meaning of 42 U.S.C. § 1981, as amended. At all relevant times herein, Owen was in a
13
     contractual relationship with defendants Citistaff, nextSource, and Tesla within the meaning of
14
     42 U.S.C. § 1981, as amended. At all relevant times herein, Lamar was in a contractual
15
     relationship with defendants Chartwell and Tesla within the meaning of 42 U.S.C. § 1981, as
16
     amended.
17
            87.     During the course of Demetric, Owen and Lamar’s employment, defendants
18
     Tesla, West Valley, Citistaff, nextSource, and Chartwell violated Plaintiffs’ rights by depriving
19
     Plaintiffs of their right to the enjoyment of all benefits, privileges, terms, and conditions of
20
     Plaintiffs’ employment contract “as is enjoyed by white citizens,” in direct violation of 42 U.S.C.
21
     § 1981(b).
22
            88.     Specifically, Tesla’s employees and supervisors subjected Plaintiffs and others to
23
     racial harassment, racial discrimination, and a racially hostile work environment, culminating in
24
     an end to their employment relationship with Tesla. Tesla, West Valley, Citistaff, nextSource,
25
     and Chartwell failed to investigate and prevent incidents of racial harassment, despite numerous
26
     reports and complaints, thereby evidencing a pattern and practice of racial discrimination and
27
     harassment. All five defendants retaliated against Plaintiffs for complaining of a hostile work
28


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 1   environment by issuing Demetric a written warning based on false allegations, approving the
 2   retaliatory termination of Demetric, and making the work environment so unbearable that Owen
 3   and Lamar had no choice but to quit their employment.
 4          89.      Tesla acted intentionally to discriminate against Plaintiffs. Tesla’s supervisory
 5   employees and agents used racial epithets and racist imagery to harass and intimidate Plaintiffs
 6   and others, and ignored Plaintiffs’ repeated reports regarding this harassment and discrimination.
 7          90.      Defendants failed to prevent the racially harassing and retaliatory behavior
 8   directed at Plaintiffs and others. Ultimately, Plaintiff Demetric was wrongfully terminated, and
 9   Plaintiffs Owen and Lamar were constructively terminated.
10          91.      Through their actions and treatment of Plaintiffs, Defendants and their agents
11   intended to discriminate against Plaintiffs on the basis of their race.
12          92.      Defendants’ violations of the Civil Rights Act of 1866, as amended, caused
13   Plaintiffs to suffer harm as set forth above.
14          93.      As a result of Defendants’ unlawful acts, Plaintiffs are entitled to damages as set
15   forth herein.
16          94.      By reason of the conduct of Defendants as alleged herein, Plaintiffs have
17   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
18   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
19   incurred in bringing this action.
20          95.      Defendants engaged in the acts alleged herein maliciously, fraudulently, and
21   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
22   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
23   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
24   to proof.
25   //
26   //
27   //
28   //


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 1                            SECOND CAUSE OF ACTION
         RACIAL DISCRIMINATION IN VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 2
                                      Cal. Civ. Code § 51
 3                      (As to All Plaintiffs; Against Defendant Tesla)

 4          96.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

 5   reproduced herein.

 6          97.     Plaintiffs are African-American men, and residents of California.

 7          98.     Defendant Tesla’s Factory in Fremont is a business establishment for the purposes

 8   of the Unruh Civil Rights Act. A business establishment is a facility which is offered “to

 9   qualified [workers], who are not the establishment’s employees, in exchange for…

10   considerations.” Payne v. Anaheim Memorial Medical Center, Inc., 130 Cal. App. 4th 729, 733

11   (2005) (review denied). Defendant Tesla operates its Fremont Factory as a business

12   establishment, offering the use of its facilities to qualified contractors, who are not its employees,

13   in exchange for payment.

14          99.     Tesla acted intentionally to discriminate in its business establishment against

15   Plaintiffs. Tesla’s supervisory employees and agents used racial epithets and racist imagery to

16   harass and intimidate Plaintiffs, ignored Plaintiffs’ repeated reports regarding this harassment

17   and discrimination, and prevented Plaintiffs from accessing its facilities in retaliation for

18   Plaintiffs’ complaints of discrimination and harassment.

19          100.    Defendants’ violations of the Unruh Civil Rights Act caused Plaintiffs to suffer

20   harm as set forth above.

21          101.    As a result of Defendants’ unlawful acts, Plaintiffs are entitled to recover

22   statutory damages of a maximum of three times the amount of actual damages, or a minimum of

23   $4,000.

24          102.    By reason of the conduct of Defendants as alleged herein, Plaintiffs have

25   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to

26   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,

27   incurred in bringing this action.

28


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 1          103.      Defendants engaged in the acts alleged herein maliciously, fraudulently, and
 2   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
 3   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
 4   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
 5   to proof.
 6                                    THIRD CAUSE OF ACTION
                  RETALIATION IN VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 7
                                           Cal. Civ. Code § 51
 8                   (As to Plaintiffs’ Demetric and Owen; Against Defendant Tesla)

 9          104.      Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

10   reproduced herein.

11          105.      The Unruh Act prohibits retaliation against persons who complain about conduct

12   they reasonably believe to violate the Act. See, e.g., Vaughn v. Hugo Neu Proler Int’l (1990) 223

13   Cal.App.3d 1612, 1619.

14          106.      Plaintiffs reasonably believed the race harassment they experienced at Tesla’s

15   Fremont factory to be a violation of their rights under California law.

16             107.   Plaintiffs complained against the harassment, and Defendants retaliated against

17   Plaintiffs for reporting the harassment by issuing Demetric a write up and subsequently

18   terminating his employment, and by threatening Owen with a demotion. Defendants further

19   retaliated against Plaintiffs by subjecting them to further harassment.

20             108.   Defendants’ violations of the Unruh Civil Rights Act caused Plaintiffs to suffer

21   harm as set forth above.

22             109.   As a result of Defendants’ unlawful acts, Plaintiffs are entitled to recover

23   statutory damages of a maximum of three times the amount of actual damages, or a minimum of

24   $4,000.

25          110.      By reason of the conduct of Defendants as alleged herein, Plaintiffs have

26   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to

27   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,

28   incurred in bringing this action.


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 1          111.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
 2   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
 3   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
 4   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
 5   to proof.
 6                            FOURTH CAUSE OF ACTION
          THREATS OF VIOLENCE IN VIOLATION OF THE RALPH CIVIL RIGHTS ACT
 7
                                     Cal. Civ. Code § 51.7
 8              (As to Owen; Against Defendants Citistaff, nextSource, and Tesla)

 9          112.    Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

10   reproduced herein.

11          113.    Plaintiff Owen is an African-American man who worked at Tesla’s Fremont

12   Factory while employed by Citistaff and nextSource.

13          114.    While working at the factory, Owen was subjected to threats of violence by a

14   Tesla employee, Ramon. Without any provocation, Ramon screamed at and physically

15   intimidated Owen. Based on this and Ramon’s previous hostile behavior, Owen believed that

16   Ramon intended to hit him.

17          115.    In addition to his use of threatening language, Ramon, rushed into the elevator

18   with Owen. He moved so that he was merely inches from Owen’s body, preventing Owen from

19   leaving the elevator. Ramon then continued to scream at Owen and berated and belittled him.

20          116.    Ramon’s demeanor and conduct was threatening, such that Owen believed he was

21   in imminent physical danger. Ramon was an able-bodied male with the apparent ability to cause

22   Owen physical harm.

23          117.    Based on Ramon’s history of racially discriminatory and demeaning acts, Owen

24   believed that Ramon’s behavior was motivated by his hatred of and prejudice towards African-

25   Americans.

26          118.    Owen reported Ramon’s actions to Tesla. However, Tesla took no action, and

27   implicitly ratified Ramon’s abuse by failing to investigate his actions, and allowing Ramon to

28   continue to abuse and harass Owen.


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 1          119.     Tesla further ratified Ramon’s actions by retaliating against Owen and suggesting
 2   that Owen be demoted as punishment for reporting Ramon’s racially abusive behavior.
 3          120.     Because Tesla ratified Ramon’s actions, Tesla is liable for his abuse under the
 4   doctrine of respondeat superior.
 5          121.     Owen reported Ramon’s actions to Citistaff and nextSource. However, Citistaff
 6   and nextSource took no action, and implicitly ratified Ramon’s abusive behavior by failing to
 7   investigate his actions, and allowing Ramon to continue to abuse and harass Owen.
 8          122.     Because Citistaff and Nextsource ratified Ramon’s actions, Citistaff and
 9   nextSource are liable for his abuse.
10          123.     Defendants’ violations of Section 51.7 of the California Civil Code caused
11   Plaintiff Owen to suffer harm as set forth above.
12          124.     As a result of Defendants’ unlawful acts, Plaintiff is entitled to recover a civil
13   penalty of $25,000.
14          125.     By reason of the conduct of Defendants as alleged herein, Plaintiffs have
15   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
16   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
17   incurred in bringing this action.
18          126.     Defendants engaged in the acts alleged herein maliciously, fraudulently, and
19   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
20   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
21   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
22   to proof.
23                                     FIFTH CAUSE OF ACTION
                    THREATS OF VIOLENCE IN VIOLATION OF THE BANE ACT
24
                                          Cal. Civ. Code § 52.1(a)
25               (As to Plaintiff Owen; Against Defendants Citistaff, nextSource, and Tesla)

26          127.     Plaintiff incorporates the foregoing paragraphs by reference, as though fully

27   reproduced herein.

28


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 1          128.    Plaintiff Owen is an African-American man who worked at Tesla’s Fremont
 2   Factory while employed by Citistaff and nextSource.
 3          129.    While working at the factory, Owen was subjected to threats of violence by a
 4   Tesla employee, Ramon. Without any provocation, Ramon screamed at and physically
 5   intimidated Owen. Based on this and Ramon’s previous hostile behavior, Owen believed that
 6   Ramon intended to hit him.
 7          130.    In addition to his use of threatening language, Ramon, rushed into the elevator
 8   with Owen. He moved so that he was merely inches from Owen’s body, preventing Owen from
 9   leaving the elevator. Ramon then continued to scream at Owen and berated and belittled him.
10          131.    Ramon’s demeanor and conduct was threatening, such that Owen believed he was
11   in imminent physical danger. Ramon was an able-bodied male with the apparent ability to cause
12   Owen physical harm.
13          132.    Based on Ramon’s history of racially discriminatory and demeaning acts, Owen
14   believed that Ramon’s behavior was motivated by his hatred of and prejudice towards African-
15   Americans.
16          133.    Owen reported Ramon’s actions to Tesla. However, Tesla took no action, and
17   implicitly ratified Ramon’s abuse by failing to investigate his actions, and allowing Ramon to
18   continue to abuse and harass Owen.
19          134.    Tesla further ratified Ramon’s actions by retaliating against Owen and threatening
20   demoting him as punishment for reporting Ramon’s racially abusive behavior.
21          135.    Because Tesla ratified Ramon’s actions, Tesla is liable for his abuse under the
22   doctrine of respondeat superior.
23          136.    Owen reported Ramon’s actions to Citistaff and nextSource. However, Citistaff
24   and nextSource took no action, and implicitly ratified Ramon’s abusive behavior by failing to
25   investigate his actions, and allowing Ramon to continue to abuse and harass Owen.
26          137.    Because Citistaff and nextSource ratified Ramon’s actions, Citistaff and
27   nextSource are liable for his abuse under the doctrine of respondeat superior.
28


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 1          138.    Defendants’ violations of Section 52.1 of the California Civil Code caused
 2   Plaintiffs to suffer harm as set forth above.
 3          139.    As a result of Defendants’ unlawful acts, Plaintiff Owen is entitled to recover civil
 4   penalties of $25,000.
 5          140.    By reason of the conduct of Defendants as alleged herein, Plaintiffs have
 6   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
 7   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
 8   incurred in bringing this action.
 9          141.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
10   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
11   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
12   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
13   to proof.
14                            SIXTH CAUSE OF ACTION
       INTERFERENCE WITH CONSTITUTIONAL RIGHTS IN VIOLATION OF BANE ACT
15
                                  Cal. Civ. Code § 52.1(b)
16                     (As to All Plaintiffs; Against All Defendants)

17          142.    Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

18   reproduced herein.

19        143.      Defendants interfered with Plaintiffs’ constitutional right entitling them to equal

20   protection.

21        144.      Defendants adopted the conduct, through their officers, directors, managing

22   agents, or supervisory employees. They further ratified the conduct by failing to take appropriate

23   prompt remedial action.

24        145.      A substantial motivating reason for Defendants’ conduct was Plaintiffs’ race.

25        146.      Defendants interfered with Plaintiffs’ right to be free from discrimination on the

26   basis of race as set forth above, and permitted working conditions that denied Plaintiffs their

27   constitutional right entitling them to equal protection.

28


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 1        147.      Defendants’ conduct caused Plaintiffs to suffer, and continue to suffer damages as
 2   set forth above.
 3        148.      By reason of the conduct of Defendants as alleged herein, Plaintiffs have
 4   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
 5   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
 6   incurred in bringing this action.
 7        149.      Defendants engaged in the acts alleged herein maliciously, fraudulently, and
 8   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
 9   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
10   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
11   to proof.
12                                   SEVENTH CAUSE OF ACTION
                                    WHISTLEBLOWER RETALIATION
13
                                           (Cal. Labor Code 1102.5)
14                      (As to Plaintiffs Demetric and Owen; Against All Defendants)

15         150.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

16   reproduced herein.

17          151.    At all relevant times mentioned herein, Plaintiffs were African-American

18   residents of California.

19          152.    At all relevant times mentioned herein, Demetric was an employee of defendant

20   West Valley and Tesla.

21          153.    Demetric engaged in protected activity when he reported the racially harassing

22   and discriminatory behavior to West Valley and Tesla, including the threat to terminate his

23   employment for his refusal to endure the daily racial harassment.

24          154.    Demetric had a reasonable, good-faith belief that this behavior was a violation of

25   the federal Civil Rights Act of 1964, and other state and federal statutes.

26          155.    West Valley and Tesla took adverse employment action against Demetric.

27   Without justification or basis in fact, both entities accepted as true the assertions of Demetric’s

28   harassers that he was a poor performer; they then terminated Demetric’s employment on that


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 1   false basis. West Valley and Tesla did this even though they knew that Demetric’s supervisor
 2   responded to his complaint of harassment by threatening to terminate Demetric’s employment.
 3          156.    In terminating Demetric, West Valley and Tesla ratified the discriminatory
 4   behavior.
 5          157.    At all relevant times mentioned herein, Owen was an employee of defendants
 6   Citistaff, nextSource, and Tesla.
 7          158.    Owen engaged in protected activity when he reported the racially harassing and
 8   discriminatory behavior to Citistaff, nextSource, and Tesla.
 9          159.    Owen had a reasonable, good-faith belief that this behavior was a violation of the
10   federal Civil Rights Act of 1964, and other state and federal statutes.
11          160.    Citistaff, nextSource, and Tesla took adverse employment action against Owen by
12   threatening him with a demotion. However, Owen had a positive performance history, and Tesla
13   only threatened Owen with a demotion as punishment for complaining of the racist harassment.
14          161.    In accepting as true the proffered reasons for threatening Owen with a demotion,
15   even though Owen had complained to Citistaff, nextSource, and Tesla of the discriminatory
16   behavior of Tesla’s employees on numerous occasions, Citistaff, nextSource, and Tesla ratified
17   and continued the discriminatory behavior.
18          162.    Defendants’ violations of Section 1102.5 of the California Labor Code caused
19   Plaintiffs to suffer harm as set forth above.
20          163.    As a result of Defendants’ unlawful acts, Plaintiffs are entitled to recover civil
21   penalties of $10,000 for each violation.
22          164.    By reason of the conduct of Defendants as alleged herein, Plaintiffs have
23   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
24   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
25   incurred in bringing this action.
26          165.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
27   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
28   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.


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 1   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
 2   to proof.
 3                                     EIGHTH CAUSE OF ACTION
                                          RACIAL HARASSMENT
 4
                                       Cal. Govt. Code § 12940, et seq.
 5                    (As to Plaintiff Lamar; Against Defendants Tesla and Chartwell)

 6           166.    Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

 7    reproduced herein.

 8         167.      Plaintiff Lamar at all times was an employee covered by the Fair Employment

 9   and Housing Act (“FEHA”), California Government Code §§ 12940(a) and (j), which prohibits

10   an employer from discriminating and harassing an employee on the basis of color and race.

11         168.      Defendants Tesla and Chartwell were, at all times, employers as defined under the

12   FEHA.

13         169.      The above-described actions constitute racial harassment and discrimination in

14   violation of the FEHA. Plaintiff Lamar was subjected to working in a severe, persistent and/or

15   pervasive racially hostile work environment, which interfered with his work performance, denied

16   him employment privileges, and adversely affected the terms and conditions of his job on the

17   basis of his race.

18         170.      The harassing conduct to which Plaintiff Lamar was subjected to was so severe,

19   widespread, and/or persistent that a reasonable African American in Plaintiff Lamar’s

20   circumstances would have considered the work environment to be hostile and/or abusive.

21         171.      Plaintiff Lamar considered the work environment to be hostile and/or abusive.

22         172.      Defendants Tesla and Chartwell failed to take prompt, remedial and effective

23   action to stop the harassers.

24         173.      Defendants’ violations of the FEHA caused Plaintiff Lamar to suffer harm as set

25   forth above.

26         174.      By reason of the conduct of Defendants as alleged herein, Plaintiff Lamar has

27   necessarily retained attorneys to prosecute the within action. Plaintiff Lamar is therefore entitled

28


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 1   to reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
 2   incurred in bringing the within action.
 3        175.         Defendants did the acts alleged herein maliciously, fraudulently, and
 4   oppressively, and/or with the wrongful intention of injuring Plaintiff, and/or with the conscious
 5   disregard of the rights and safety of Plaintiff, and/or with an improper and evil motive amounting
 6   to malice. Plaintiff is thus entitled to recover punitive damages from Defendant in an amount
 7   according to proof.
 8                                        NINTH CAUSE OF ACTION
                                           RACE DISCRIMINATION
 9
                                         Cal. Govt. Code § 12940, et seq.
10                      (As to Plaintiff Lamar; Against Defendants Tesla and Chartwell)

11            176.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

12   reproduced herein.

13        177.         Plaintiff Lamar at all times was an employee covered by the FEHA, California

14   Government Code §§ 12940(a) and (j), which prohibits an employer from discriminating against

15   an employee on the basis of color and race.

16        178.         Defendants Tesla and Chartwell were at all times employers as defined under the

17   FEHA.

18        179.         Tesla failed to take any action in response to Plaintiff’s complaints because of his

19   color and race.

20        180.         Defendants’ practice of failing to take any action in response to Plaintiff’s

21   complaints was a substantial factor in causing Plaintiff’s harm.

22        181.         Defendants’ violations of the FEHA caused Plaintiff to suffer harm as set forth

23   above.

24   \\

25        182.         By reason of the conduct of Defendants as alleged herein, Plaintiff Lamar has

26   necessarily retained attorneys to prosecute the within action. Plaintiff is therefore entitled to

27   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,

28   incurred in bringing the within action.


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 1        183.       Defendants did the acts alleged herein maliciously, fraudulently, and
 2   oppressively, and/or with the wrongful intention of injuring Plaintiff, and/or with the conscious
 3   disregard of the rights and safety of Plaintiff, and/or with an improper and evil motive amounting
 4   to malice. Plaintiff is thus entitled to recover punitive damages from Defendant in an amount
 5   according to proof.
                                       TENTH CAUSE OF ACTION
 6
                                               RETALIATION
 7                                        Cal. Govt. Code 12940(h)
                      (As to Plaintiff Lamar; Against Defendants Tesla and Chartwell)
 8
              184.   Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
 9
     reproduced herein.
10
          185.       Plaintiff Lamar complained of harassment and discrimination that violated the
11
     FEHA.
12
          186.       Defendants Tesla and Chartwell took no action to ensure that Plaintiff was not
13
     retaliated against or threatened for having complained.
14
          187.       As a result of Defendants Tesla and Chartwell’s action or inaction, Plaintiff was
15
     subject to additional harassment, making the work environment so unbearable that Plaintiff
16
     Lamar had no choice but to quit his employment.
17
          188.       Defendants’ violations of the FEHA caused Plaintiff to suffer harm as set forth
18
     above.
19
          189.       By reason of the conduct of Defendants as alleged herein, Plaintiff has necessarily
20
     retained attorneys to prosecute the within action. Plaintiff is therefore entitled to reasonable
21
     attorney’s fees and litigation expenses, including expert witness fees and costs, incurred in
22
     bringing the within action.
23
          190.       Defendants did the acts alleged herein maliciously, fraudulently, and
24
     oppressively, and/or with the wrongful intention of injuring Plaintiff, and/or with the conscious
25
     disregard of the rights and safety of Plaintiff, and/or with an improper and evil motive amounting
26
     to malice. Plaintiff is thus entitled to recover punitive damages from Defendant in an amount
27
     according to proof.
28
     //

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 1                                   ELEVENTH CAUSE OF ACTION
                    FAILURE TO PREVENT DISCRIMINATION AND HARASSMENT
 2
                                        Cal. Govt. Code § 12940, et seq.
 3                    (As to Plaintiff Lamar; Against Defendants Tesla and Chartwell)

 4        191.       Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

 5   reproduced herein.

 6        192.       Defendants Tesla and Chartwell failed to take all reasonable steps to prevent the

 7   harassment and discrimination as described above. Defendants knew or should have known that

 8   Tesla’s employees were engaged in racially offensive behavior in the past and failed to stop it.

 9        193.       Despite being on notice of Tesla’s employees’ propensity to engage in harassing

10   conduct, Defendants failed to act to prevent employees from harassing Plaintiff.

11        194.       Defendants also failed to enact an anti-discrimination policy and/or failed to

12   distribute it appropriately and failed to effectively train its employees on racial harassment or

13   discrimination.

14        195.       As a result of Defendants violations of the FEHA, Plaintiff suffered harm as set

15   forth above.

16        196.       By reason of the conduct of Defendants as alleged herein, Plaintiff has necessarily

17   retained attorneys to prosecute the within action. Plaintiff is therefore entitled to reasonable

18   attorney’s fees and litigation expenses, including expert witness fees and costs, incurred in

19   bringing the within action.

20        197.       Defendants did the acts alleged herein maliciously, fraudulently, and

21   oppressively, and/or with the wrongful intention of injuring Plaintiff, and/or with the conscious

22   disregard of the rights and safety of Plaintiff, and/or with an improper and evil motive amounting

23   to malice. Plaintiff is thus entitled to recover punitive damages from Defendants in an amount

24   according to proof.

25                                 TWELFTH CAUSE OF ACTION
                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
26                             (As to All Plaintiffs; Against All Defendants)
27        198.       Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
28   reproduced herein.


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 1         199.      As employees and contractors of Defendants, Plaintiffs were owed a duty of due
 2   care by Defendants, and each of them, to ensure that Plaintiffs were not exposed to foreseeable
 3   harms.
 4         200.      Defendants, and each of them, knew, or should have known, that Plaintiffs were
 5   being subjected to racial harassment, discrimination and retaliation, and that, by failing to
 6   exercise due care to prevent racially harassing, discriminatory and retaliatory course of conduct
 7   could and would cause Plaintiffs to suffer serious emotional distress.
 8         201.      Defendants, and each of them, failed to exercise their duty of due care to prevent
 9   their employees, managers, supervisors and/or officers from racially harassing, discriminating
10   and retaliating against Plaintiffs.
11         202.      As a direct and consequential result of Defendants’ actions, Plaintiffs suffered
12   serious mental and emotional distress, includes, but is not limited to, pain, anxiety, humiliation,
13   anger, shame, embarrassment, frustration, and fear. Plaintiffs allege Defendants are responsible
14   for the harm they suffered.
15         203.      By reason of the conduct of Defendants as alleged herein, Plaintiffs have
16   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
17   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
18   incurred in bringing this action.
19         204.      Defendants engaged in the acts alleged herein maliciously, fraudulently, and
20   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
21   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
22   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
23   to proof.
24                              THIRTEENTH CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
25
                              (As to All Plaintiffs; Against All Defendants)
26            205. Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
27   reproduced herein.
28


                                                       27
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 1          206.    Plaintiffs complained repeatedly to Tesla as well as to West Valley, Chartwell,
 2   nextSource, and Citistaff about the constant racial abuse they received on a daily basis. Plaintiffs
 3   made clear that the racial harassment caused them distress, humiliation, and suffering.
 4          207.    When Defendants failed to take corrective action, Defendants knew that Plaintiffs
 5   would continue to suffer extreme emotional distress and harm as a result of their failure to act.
 6          208.    As a direct and consequential result of Defendants’ actions, Plaintiffs have
 7   suffered severe emotional distress to their persons. Such harm includes, but is not limited to,
 8   pain, anxiety, humiliation, anger, shame, embarrassment, frustration, and fear. Plaintiffs allege
 9   Defendants are responsible for the harm they suffered.
10          209.    By reason of the conduct of Defendants as alleged herein, Plaintiffs have
11   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
12   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
13   incurred in bringing this action.
14          210.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
15   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
16   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
17   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
18   to proof.
19                                FOURTEENTH CAUSE OF ACTION
20                     NEGLIGENT HIRING, RETENTION AND SUPERVISION
                             (As to All Plaintiffs; Against All Defendants)
21
           211.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
22
     reproduced herein.
23
            212.    Upon information and belief, Defendants, by and through its agents and
24
     employees, knew or reasonably should have known through reasonable investigation of some of
25
     its agents and/or employees’ propensity for unlawful racially harassing and physically aggressive
26
     behavior.
27
28


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 1          213.     Defendants had a duty not to hire or retain these employees/agents given their
 2   wrongful, dangerous, and racially offensive propensities, and to provide reasonable supervision
 3   of these employees/agents.
 4          214.     Defendants negligently hired, retained and/or failed to adequately supervise these
 5   employees/agents in their positions where they were able to commit the wrongful acts
 6   complained of here against Plaintiffs. Defendants failed to provide reasonable supervision of
 7   these employees/agents despite knowing of their propensities and complaints made against them.
 8          215.     As a direct and consequential result of Defendants’ actions, Plaintiffs have
 9   suffered serious emotional distress to their persons. Such harm includes, but is not limited to,
10   pain, anxiety, humiliation, anger, shame, embarrassment, frustration, and fear. Plaintiffs allege
11   Defendants are responsible for the harm they suffered.
12          216.     By reason of the conduct of Defendants as alleged herein, Plaintiffs have
13   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to
14   reasonable attorney’s fees and litigation expenses, including expert witness fees and costs,
15   incurred in bringing this action.
16          217.     Defendants engaged in the acts alleged herein maliciously, fraudulently, and
17   oppressively; with the wrongful intention of injuring Plaintiffs; with the conscious disregard of
18   the rights and safety of Plaintiffs; and with an improper and evil motive amounting to malice.
19   Plaintiffs are thus entitled to recover punitive damages from Defendants in an amount according
20   to proof.
21                                  FIFTEENTH CAUSE OF ACTION
                   WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
22
                    (As to Plaintiff Demetric; Against Defendant West Valley and Tesla)
23          218.     Plaintiffs incorporate the foregoing paragraphs by reference, as though fully
24   reproduced herein.
25          219.     Defendant Tesla and West Valley punished Demetric by terminating his
26   employment.
27          220.     Although Defendants stated that Demetric should be terminated for performance
28   issues, this was merely a pretext. Demetric did not have a history of written warnings or


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 1   performance issues warranting a termination until he was issued a written warning for using his
 2   phone on the production line within days of complaining to his supervisor of the racially
 3   discriminatory and harassing behavior he was subjected to at work. His supervisor responded to
 4   his complaint by threatening to terminate Demetric’s employment, and ultimately did terminate
 5   his employment approximately a week after Demetric made his complaint.
 6          221.    West Valley ratified Tesla’s discriminatory behavior by terminating Demetric
 7   without conducting any investigation into the veracity of the claims against him, thereby
 8   approving of Tesla’s discriminatory motives.
 9          222.    West Valley and Tesla’s decision to terminate Demetric’s employment based on
10   discriminatory motives was contrary to the policies, rules, regulations, and laws of the State of
11   California, which are in substantial part designed to protect employees from discriminatory,
12   harassing, and otherwise harmful or unlawful conduct. Said policies are encoded in Article 1,
13   Section 8 of the Constitution of the State of California, and in Section 12900 et seq. of the
14   California Government Code. Demetric’s termination therefore constituted an unlawful
15   termination under California law.
16          223.    Defendants’ violations of these constitutional and statutory provisions caused
17   Plaintiff Demetric to suffer harm as set forth above.
18          224.    By reason of the conduct of Defendants as alleged herein, Plaintiff Demetric has
19   necessarily retained attorneys to prosecute the present action. Plaintiff Demetric is therefore
20   entitled to reasonable attorney’s fees and litigation expenses, including expert witness fees and
21   costs, incurred in bringing this action.
22          225.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
23   oppressively; with the wrongful intention of injuring Plaintiff Demetric; with the conscious
24   disregard of the rights and safety of Plaintiff Demetric; and with an improper and evil motive
25   amounting to malice. Plaintiff Demetric is thus entitled to recover punitive damages from
26   Defendants in an amount according to proof.
27   //
28   //


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 1                                SIXTEENTH CAUSE OF ACTION
                CONSTRUCTIVE DISCHARGE IN VIOLATION OF PUBLIC POLICY
 2
          (As to Plaintiff Owen and Lamar; Against Defendants Tesla, Citistaff, nextSource, and
 3                                            Chartwell)

 4              226.   Plaintiffs incorporate the foregoing paragraphs by reference, as though fully

 5   reproduced herein.

 6              227.   At all relevant times herein, Owen was an employee of Citistaff, nextSource, and

 7   Tesla; and Lamar was an employee of Chartwell and Tesla.

 8              228.   Citistaff, nextSource, and Tesla constructively terminated Owen’s employment,

 9   and Chartwell and Tesla constructively terminated Lamar’s employment by permitting a hostile

10   work environment to flourish at the Tesla Factory, where Owen and Lamar were continuously

11   subjected to harassment and discrimination.

12              229.   Owen and Lamar complained about the use of racial slurs, the display of racially

13   offensive images, and the use of offensive statements. Owen also complained in writing about

14   the violent conduct Ramon directed towards him.

15              230.   When Owen complained of this conduct, Tesla’s employees only escalated their

16   threatening and discriminatory behavior, and attempted to demote Owen.

17              231.   No reasonable African-American person could have borne the constant

18   harassment, discrimination, intimidation, and threatening behavior directed at Owen and Lamar

19   on a daily basis.

20              232.   As a result, when Defendants Tesla, Citistaff, nextSource, and Chartwell

21   repeatedly declined to intervene and prevent the harassment, Owen and Lamar had no choice but

22   to quit.

23              233.   Defendants Tesla, Chartwell, nextSource, and Citistaff’s failure to halt the racial

24   harassment and discrimination was contrary to the policies, rules, regulations, and laws of the

25   State of California, which are in substantial part designed to protect employees from

26   discriminatory, harassing, and otherwise harmful or unlawful conduct. Said policies are encoded

27   in Article 1, Section 8 of the Constitution of the State of California, and in Section 12900 et seq.

28   of the California Government Code. Defendants Tesla, nextSource, and Citistaff’s constructive


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 1   termination of Owen, and Defendants Tesla and Chartwell’s constructive termination of Lamar
 2   therefore constituted a wrongful termination under California law.
 3           234.    Defendants’ violations of these constitutional and statutory provisions caused
 4   Plaintiffs Owen and Lamar to suffer harm as set forth above.
 5           235.    By reason of the conduct of Defendants as alleged herein, Plaintiffs Owen and
 6   Lamar have necessarily retained attorneys to prosecute the present action. Plaintiffs Owen and
 7   Lamar are therefore entitled to reasonable attorney’s fees and litigation expenses, including
 8   expert witness fees and costs, incurred in bringing this action.
 9           236.    Defendants engaged in the acts alleged herein maliciously, fraudulently, and
10   oppressively; with the wrongful intention of injuring Plaintiffs Owen and Lamar; with the
11   conscious disregard of the rights and safety of Plaintiffs; and with an improper and evil motive
12   amounting to malice. Plaintiffs Owen and Lamar are thus entitled to recover punitive damages
13   from Defendants in an amount according to proof.
14                                        REQUEST FOR RELIEF
15           WHEREFORE, Plaintiffs request judgment against the Defendants as follows:
16           1.      General damages according to proof, in an amount no less than the jurisdictional
17   limit of this court;
18           2.      Special damages in amounts according to proof, together with prejudgment
19   interest;
20           3.      Exemplary and punitive damages in amounts according to proof;
21           4.      Civil penalties pursuant to Section 52(a), 52(b)(2), and 52.1(a) of the California
22   Civil Code; and Section 1102.5(f) of the California Labor Code;
23           5.      Attorneys’ fees and costs pursuant to sections 52(a), 52(b)(3), and 52.1(h) of the
24   California Civil Code; section 12965(b) of the California Government Code, and any other
25   applicable statute;
26           6.      Interest as provided by law;
27           7.      Costs of suit incurred herein;
28


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 1          8.      Injunctive relief to require Defendants to better train its staff on race harassment,
 2   discrimination and retaliation, and develop effective policies and procedures to ensure that when
 3   harassment is reported, the company takes effective remedial measures; and
 4          9.      For such other and further relief as the Court deems just and proper.
 5
 6   Dated: December 14, 2018                      CALIFORNIA CIVIL RIGHTS LAW GROUP
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 8
 9
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                                                   ___________________________
11                                                 LAWRENCE A. ORGAN
                                                   NAVRUZ AVLONI
12                                                 Attorneys for Plaintiffs
13                                                 DEMETRIC DI-AZ, OWEN DIAZ and LAMAR
                                                   PATTERSON
14
15
16                                    DEMAND FOR JURY TRIAL

17               PLAINTIFFS hereby demand a jury trial on all issues.

18
19   Dated: December 14, 2018                      CALIFORNIA CIVIL RIGHTS LAW GROUP

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22
23
                                                   ___________________________
24                                                 LAWRENCE A. ORGAN
                                                   NAVRUZ AVLONI
25                                                 Attorneys for Plaintiffs
26                                                 DEMETRIC DI-AZ, OWEN DIAZ and LAMAR
                                                   PATTERSON
27
28


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